Case 2:05-cr-20111-.]DB Document 60 Filed 07/01/05 Page 1 of 3 Page|D 63

IN THE UNITED STATES DlSTFl|CT COUHT m gym ___,____pg
FOR THE WESTEF{N DISTH|CT OF TENNESSEE

 

WESTERN DrvlSlON 95 JUL -g m 1357
uNrTED sTATEs oF AMER|CA U.S. Dih§THiCTCOlBT
OF iN. MEMPHS
P|aintiff
vs. CR. No.05-20111-B

RAFAT MAWLAW|, JANE NETTERS AUST|N
MHAMMED KABOUCHI,

Defendants.

 

ORDEH ON CONT|NUANCE AND SPEC|FY|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendant; requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Monday, October 31,l 2005l at 10:30 a.m., in Courtroom 1 11th Floor of

the Federal Bui|ding, Memphis, TN.

 

The period from July 15, 2005 through November 18, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT |S SO ORDEF{ED this 2 9 d

    

 

 

    
   

. D lEL BREEN
UN|T D STATES DlSTR| T JUDGE

This docr.ment entered on the docket sheet in compliance
with Hule 55 and/or 32lbi FHCrP on _;Z_LLQ_§_~ "

(00

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:05-CR-20111 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Mark S. McDaniel
LAW OFFICE OF MARK S. MCDANIEL

243 EXchange Avenue
1\/1emphis7 TN 38103

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
1\/1emphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

1\/1emphis7 TN 38128

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

1\/1emphis7 TN 38128

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 .1 efferson Ave.

Ste. 804

1\/1emphis7 TN 38103

.1 uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

1\/1emphis7 TN 38103

Case 2:05-cr-20111-.]DB Document 60 Filed 07/01/05 Page 3 of 3 Page|D 65

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

